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      AO 245B-CAED (Rev. 09/2019) Sheet 1 - Judgment in a Criminal Case



                                  UNITED STATES DISTRICT COURT
                                                     Eastern District of California
                     UNITED STATES OF AMERICA                                 JUDGMENT IN A CRIMINAL CASE
                                v.                                            Case Number: 6:23PO00095-001
                             RUNYU LI                                         Defendant's Attorney: Kara Ottervanger, Assistant Federal Defender
      THE DEFENDANT:
           pleaded guilty to count 1, violation #E1167654 Violation Notice.
           pleaded nolo contendere to count(s)      , which was accepted by the court.
           was found guilty on count(s)     after a plea of not guilty.
      The defendant is adjudicated guilty of these offenses:
      Title & Section                   Nature of Offense                                                        Offense Ended          Count
                                            Violating a Closure, Designation, Use or Activity Restriction or
       36 CFR §1.5(f)                                                                                            12/26/2022             1
                                            Condition, Schedule of Visiting Hours, or Public Use Limit

             The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to the
      Sentencing Reform Act of 1984.

           The defendant has been found not guilty on count(s)      .
           Count(s)      dismissed on the motion of the United States.
           Indictment is to be dismissed by District Court on motion of the United States.
           Appeal rights given.                      Appeal rights waived.

              It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
      residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
      ordered to pay restitution or fine, the defendant must notify the court and United States attorney of material changes in economic
      circumstances.
                                                                              8/4/2023
                                                                              Date of Imposition of Judgment



                                                                              Signature of Judicial Officer
                                                                              Helena M. Barch-Kuchta, United States Magistrate Judge
                                                                              Name & Title of Judicial Officer
                                                                              8/15/2023
                                                                              Date




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      AO 245B-CAED (Rev. 09/2019) Sheet 4 - Misdemeanor Probation
      DEFENDANT: RUNYU LI                                                                                                               Page 2 of 4
      CASE NUMBER: 6:23PO00095-001

                                                                    PROBATION
       The defendant is hereby sentenced to probation for a term of:
       60 months.

       If this judgment imposes a fine, special assessment, processing fee or restitution, it is a condition of probation that Defendant pay in
       accordance with the Schedule of Payments sheet of this judgment.

       While on probation, the defendant shall be subject to and must comply with the following conditions of probation:

                                                        CONDITIONS OF PROBATION
       1.   The defendant's probation shall be unsupervised by the probation office.
       2.   The defendant is ordered to obey all federal, state, and local laws.
       3.   The defendant shall notify the court and, if represented by Counsel, your counsel of any change of address and contact number.
       4.   The defendant shall pay a special assessment of $10.00 for a total financial obligation of $10.00, which shall be due
            immediately/paid in full by 8/7/2023. Payments shall be made payable to the Clerk, U.S.D.C., and mailed to

                CLERK U.S.D.C.
                2500 Tulare Street, Rm 1501
                Fresno, CA 93721
       5.   The defendant is ordered to personally appear for Probation Review Hearings on 8/13/2024 and 8/12/2025 at 10:00 am before
            U.S. Magistrate Judge Helena Barch-Kuchta.

            If defendant is in full compliance with the terms of probation and the government agrees, defendant may move to vacate the
            Review Hearing. Prior to the final Review Hearing, if defendant is in compliance and the government agrees, defendant may
            move to vacate the final Review Hearing and terminate probation.
       6.   Pursuant to 18 USC § 3572(d)(3), while on probation and subject to any financial obligation of probation. defendant shall notify
            the court of any material change in defendant's economic circumstances that might affect defendant's ability to pay the full
            financial obligation.
       7.   The defendant shall advise the court and Government Officer through Counsel, if represented, within seven days of being cited
            or arrested for any alleged violation of law.
       8.   The defendant shall comply with all rules and requests by the court necessary and proper to carry out his conditions of
            probation, including, but not limited to, providing any and all financial information.
       9.   Other: The defendant shall make restitution to Payee: National Park Medical Services Fund, National Park Service Mail Stop
            D-2770 7401 West Mansfield Ave., Lakewood, CO 80235 in the amount of $11,939.50 by 8/5/2025. Check must identify
            Yosemite and Defendant's full name.
       10. Other: Complete post plea booking through US Marshals Office on 8/4/2023.




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      AO 245B-CAED (Rev. 09/2019) Sheet 5 - Criminal Monetary Penalties
      DEFENDANT: RUNYU LI                                                                                                               Page 3 of 4
      CASE NUMBER: 6:23PO00095-001

                                                    CRIMINAL MONETARY PENALTIES

                The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                TOTALS
                Processing Fee             Assessment             AVAA Assessment*                JVTA Assessment**       Fine     Restitution
                                             $10.00                                                                        $       $11,939.50
            The determination of restitution is deferred until            . An Amended Judgment in a Criminal Case (AO 245C) will be entered
            after such determination.

            The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

            If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
            otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
            victims must be paid before the United States is paid.

       Name of Payee                                            Total Loss***         Restitution Ordered Priority or Percentage
       National Park Medical Services Fund                          $11,939.50                  $11,939.50
       Totals                                                       $11,939.50                  $11,939.50
            Restitution amount ordered pursuant to plea agreement $ 11,939.50

            The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
            the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
            subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

            The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                    The interest requirement is waived for the               fine         restitution

                    The interest requirement for the              fine         restitution is modified as follows:


            If incarcerated, payment of any unpaid criminal monetary penalties in this case is due during imprisonment at the rate of 10%
            of the defendant’s gross income per month or $25 per quarter, whichever is greater. Payment shall be made through the Bureau
            of Prisons Inmate Financial Responsibility Program.

            Other:
       * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299
       ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
       *** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
       committed on or after September 13, 1994, but before April 23, 1996.




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      AO 245B-CAED (Rev. 09/2019) Sheet 6 - Schedule of Payments
      DEFENDANT: RUNYU LI                                                                                                                  Page 4 of 4
      CASE NUMBER: 6:23PO00095-001

                                                            SCHEDULE OF PAYMENTS
              Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

       A.              Lump sum payment of $ 10.00 due immediately, balance due
                                 Not later than      , or
                                 in accordance              C,     D,         E,or           F below; or
       B.              Payment to begin immediately (may be combined with               C,          D,       or    F below); or

       C.              Payment in equal    (e.g. weekly, monthly, quarterly) installments of $       over a period of       (e.g. months or
                       years), to commence     (e.g. 30 or 60 days) after the date of this judgment; or

       D.              Payment in equal    (e.g. weekly, monthly, quarterly) installments of $    over a period of      (e.g. months or
                       years), to commence     (e.g. 30 or 60 days) after release from imprisonment to a term of supervision; or

       E.              Payment during the term of supervised release/probation will commence within      (e.g. 30 or 60 days) after release
                       from imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at
                       that time; or

       F.              Special instructions regarding the payment of criminal monetary penalties:
                          Payments must be made by Check or Money Order, payable to: Clerk, U.S.D.C. and mailed to:
                             CLERK U.S.D.C.
                             2500 Tulare Street, Rm 1501
                             Fresno, CA 93721
                       Your check or money order must indicate your name and citation/case number shown above to ensure your account
                       is credited for payment received.

       If incarcerated, payment of any unpaid criminal monetary penalties in this case is due during imprisonment at the rate of 10% of the
       defendant's gross income per month or $25 per quarter, whichever is greater. Payment shall be made through the Bureau of Prisons
       Inmate Financial Responsibility Program.

       The defendant shall make payments toward any unpaid criminal monetary penalties in this case during supervision at the rate of at
       least 10% of your gross monthly income. Payments are to commence no later than 60 days from placement on supervision. This
       payment schedule does not prohibit the United States from collecting through all available means any unpaid criminal monetary
       penalties at any time, as prescribed by law.

       The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

               The defendant shall pay the cost of prosecution.

               The defendant shall pay the following court cost(s):

               The defendant shall forfeit the defendant's interest in the following property to the United States: The Preliminary Order of
               Forfeiture is hereby made final as to this defendant and shall be incorporated into the Judgment.

       Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA
       assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs,
       including cost of prosecution and court costs.




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                                                 20221226-032 SAR Expenses
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Last, First              Hours          050      090       092       110        190       FLS       H10       Total
ANDREWS, CHAD                      2.00    $0.00     $0.00     $0.00     $95.10     $0.00     $0.00     $0.00      $95.10
CARTER, CHARLES                    1.00    $0.00     $0.00     $0.00     $22.91     $0.00    $13.34     $0.00      $36.25
CASSLING, CHRISTOPHER              6.50    $0.00     $0.00     $0.00    $307.50     $0.00     $0.00     $0.00    $307.50
DELPOZZO, CHRISTIAN                4.00    $0.00     $0.00     $0.00    $162.83     $0.00     $0.00     $0.00    $162.83
DREW, JANNA                        4.00    $0.00     $0.00     $0.00    $127.97     $0.00    $82.07     $0.00    $210.04
FEY, JUSTIN                        1.00    $0.00     $0.00     $0.00     $47.39     $0.00     $0.00     $0.00      $47.39
FITZGERALD, SEAN                   1.50    $0.00     $0.00     $0.00     $47.32     $0.00    $31.32     $0.00      $78.64
GALSTER, NATHAN                    4.50    $0.00   $84.86    $25.36     $101.29     $0.00    $75.28     $0.00    $286.79
HASTINGS, MICHAEL                  0.00    $0.00     $0.00     $0.00     -$1.05     $0.00     $0.00     $0.00       -$1.05
HAYS, CODY                        14.50    $0.00     $0.00   $99.19     $396.75     $0.00 $255.14       $0.00    $751.08
HESDON, JOHN                       3.50    $0.00     $0.00     $0.00    $107.28     $0.00    $71.76     $0.00    $179.04
HOEFLICH, JACK                    26.50    $0.00 $145.97 $283.83 $1,336.60          $0.00     $0.00     $0.00 $1,766.40
IPPOLITI, PETER                    8.00    $0.00     $0.00     $0.00    $338.72     $0.00     $0.00     $0.00    $338.72
JURCHENKO, JIM                    22.50 $238.60 $147.80      $59.88     $497.79   $59.64      $0.00     $0.00 $1,003.71
KITCHEN, JAIME                    19.50    $0.00   $89.61    $47.11     $565.12     $0.00 $331.18       $0.00 $1,033.02
LATHAM, BRANDON                    1.00    $0.00     $0.00     $0.00     $47.38     $0.00     $0.00     $0.00      $47.38
LYON, STEVE                        4.50    $0.00   $72.90    $25.53     $102.12     $0.00    $53.24     $0.00    $253.79
RIPPETOE, IAN                      9.75    $0.00     $0.00     $0.00    $461.84     $0.00     $0.00     $0.00    $461.84
SMITH, AARON                       0.00    $0.00 $172.96       $0.00      $0.00     $0.00     $0.00     $0.00    $172.96
WARREN, PATRICK                   28.00    $0.00     $0.00     $0.00      $0.00     $0.00     $0.00 $745.92      $745.92
WEBB, BYRON                       26.50    $0.00     $0.00 $115.85      $767.50     $0.00 $436.14       $0.00 $1,319.49
WEBB, JEFFREY                      6.00    $0.00 $179.81     $79.23     $316.78     $0.00     $0.00     $0.00    $575.82
ZIESEMER, CODY                    10.00    $0.00     $0.00     $0.00    $288.89     $0.00 $167.80       $0.00    $456.69

Total Hours                     204.75                                                              Total      $10,329.35


Purchases
Crew Meal 12/27/2022           $152.82
Kahtoola Microspikes           $156.85
Black Diamond Crampons          $92.25
Sterling Rope                  $866.73
Fixe Hardware                   $87.27
Canon USA Binocular Repair     $254.23

Total Purchases               $1,610.15

Total Incident Cost          $11,939.50




Prepared by
                       Case 6:23-po-00095-HBK Document
                                  IN THE UNITED STATES 15  Filed 08/15/23
                                                        DISTRICT   COURT Page 6 of 7
                                                 For The
                                     EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,                                   ) Case No.
                                                            )
                                Plaintiff,                  ) DEFENDANT’S STATUS REPORT ON
v.                                                          ) UNSUPERVISED PROBATION
                                                            )
Click here to enter text.,                                  )
                                                            )
                              Defendant.                    )
                                                            )

        PURSUANT to an order of this Court the Defendant hereby submits its status report on
 unsupervised probation:
              Convicted of:
              Sentence Date:                 Click here to enter a date.
              Review Hearing Date: Click here to enter a date.
              Probation Expires On: Click here to enter a date.
 CONDITIONS OF UNSUPERVISED PROBATION:
 ☒            Obey all federal, state and local laws; and

 ☐            Monetary Fines & Penalties in Total Amount of: $        which Total Amount is made up of a
              Fine: $     Special Assessment: $    Processing Fee: $ Choose an item. Restitution: $

 ☐            Payment schedule of $                 per month by the          of each month.

 ☐            Community Service hours Imposed of:

 ☐            Other Conditions:

 COMPLIANCE:

 ☐            Defendant has complied with and completed all conditions of probation described-above.

              Otherwise:

 ☐            Defendant has not been arrested, cited or charged with any federal, state or local criminal offenses since
              being placed on probation by this Court.

                            If so, describe arrest/charge/citation (location, court, date & offense): Click here to enter text.

 ☐            To date, Defendant has paid a total of $
              ☐ If not paid in full when was last time payment:      Date: Click here to enter a date.
                                                                     Amount:
 ☐            To date, Defendant has performed Click here to enter text. hours of community service.

 ☐            Compliance with Other Conditions of Probation:



 CAED (Fresno)- Misd. 6 (Rev. 11/2014)
GOVERNMENT
       CasePOSITION:
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☐            The Government agrees to the above-described compliance.
☐            The Government disagrees with the following area(s) of compliance:
             Government Attorney:
DEFENDANT’S REQUEST (OPTIONAL):
             In light of the information detailed in this status report, the defendant moves for the following:
             ☐             that the review hearing set for Click here to enter a date. at           Choose an item.
                           ☐            be continued to Click here to enter a date. at 10:00 a.m.; or
                           ☐            be vacated.
             ☐             that Defendant’s appearance for the review hearing be waived.

DATED: Click here to enter a date.                                            ____________________________
                                                                              DEFENDANT’S COUNSEL

                                                               ORDER
             The Court having considered the defendant’s request,

             IT IS HEREBY ORDERED that the Defendant’s request is:

             ☐             GRANTED. The Court orders that Choose an item.

             ☐             DENIED.


DATED: _________                                                       ____________________________________
                                                                       HELENA M. BARCH-KUCHTA
                                                                       United States Magistrate Judge




CAED (Fresno)- Misd. 6 (Rev. 11/2014)
